 Case 2:20-cv-02044-AB-JC Document 1 Filed 03/02/20 Page 1 of 18 Page ID #:1




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10
                           UNITED STATES DISTRICT COURT

11
                         CENTRAL DISTRICT OF CALIFORNIA

12   BERNHARD KÜHMSTEDT, an individual, Case No.:
13                                                 COMPLAINT FOR:
     Plaintiff,
14                                                   1. COPYRIGHT INFRINGEMENT
     v.                                              2. VICARIOUS AND/OR
15
                                                        CONTRIBUTORY
16
     NETEASE, INC., a Cayman Islands                    COPYRIGHT INFRINGEMENT
17   Corporation; and DOES 1 through 10,             3. VIOLATION OF THE DMCA:
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                                                        17 U.S.C. § 1202
     Defendants.
19                                                 Jury Trial Demanded
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                                           COMPLAINT
 Case 2:20-cv-02044-AB-JC Document 1 Filed 03/02/20 Page 2 of 18 Page ID #:2




 1          Plaintiff, by and through its undersigned attorneys, hereby prays to this
 2   honorable Court for relief based on the following:
 3                              JURISDICTION AND VENUE
 4          1. This action arises under the Copyright Act of 1976, Title 17 U.S.C., § 101 et
 5   seq.
 6          2. This Court has federal question jurisdiction under 28 U.S.C. § 1331 and 1338
 7   (a) and (b).
 8          3. Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and 1400(a)
 9   in that this is the judicial district in which a substantial part of the acts and omissions
10   giving rise to the claims occurred. It is also proper under Fed. R. Civ. P. 4(k)(2) since
11   this claim arises under federal law, Defendant Netease, Inc. appears to not be subject
12   to jurisdiction in any state’s courts of general jurisdiction, and exercising jurisdiction
13   is consistent with the United States Constitution and laws.
14                                          PARTIES
15          4. Plaintiff BERNHARD KÜHMSTEDT (“KÜHMSTEDT”) is an individual,
16   residing in Munich, Germany.
17          5. Plaintiff is informed and believes and thereon alleges that Defendant
18   NETEASE, INC. (“NETEASE”) is a corporation organized and existing under the
19   laws of the Cayman Islands, with its principal place of business at 26F SP Tower D,
20   Tsinghua Science Park, Building 8, No. 1 Zhongguancun East Road, Haidian
21   District, Beijing, People’s Republic of China, 100084. NetEase is registered to do
22   business in the State of Delaware under its former English name, NetEase.com
23   (U.S.) Inc.
24          6. Plaintiff is informed and believes and thereon alleges that Defendant
25   NETEASE has been listed on the NASDAQ Global Select Market since June 30,
26   2000, under the ticker symbol “NTES,” and regularly files reports with the United
27   States Securities and Exchange Commission. Upon information and belief,
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                                             COMPLAINT
 Case 2:20-cv-02044-AB-JC Document 1 Filed 03/02/20 Page 3 of 18 Page ID #:3




 1   Defendant NETEASE maintains an Investor Relations contact in New York, New
 2   York, in the United States.
 3         7. NETEASE is the owner of the websites at http://163.com,
 4   http://netease.com, and http://lofter.com (collectively, the “NETEASE
 5   WEBSITES”). Indeed, the investor relations page of netease.com
 6   (http://ir.netease.com/phoenix.zhtml?c=122303&p=irol-IRHome) links to its United
 7   States SEC Form 6-K filing which explains that “NetEase, Inc. (NASDAQ: NTES)
 8   is a leading internet technology company in China” and to its Q1 2018 Investor
 9   Presentation which promotes that “163.com is one of China’s most visited internet
10   portals.”
11         8. Plaintiff is informed and believes that NETEASE is the parent of its wholly
12   owned subsidiary Netease Information Technology Corporation (“NETEASE IT”), a
13   California corporation with its principal place of business at 200 Sierra Point
14   Parkway, Ste 800, Brisbane, California 94005. NETEASE IT provides “market
15   research and information collection” for NETEASE, which includes finding and
16   providing content to NETEASE, and is believed to have worked with NETEASE
17   with regard to the infringements at issue in this action.
18         9. NETEASE generates substantial revenues from viewership at
19   http://163.com and http://netease.com and by residents of the United States—indeed,
20   between September to November 2019 alone, there were approximately 1.82 million
21   visits to http://163.com from computers in the United States. The NETEASE
22   WEBSITES are websites that derive revenue in large part from advertising.
23         10. The images on http://163.com, including the infringing images at issue in
24   this case, are made available to United States viewers, including in this judicial
25   district, through servers in the United States pursuant to an agreement between
26   NETEASE and California-based Quantil Networks’ delivery network
27   (www.quantil.com).
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                                            COMPLAINT
 Case 2:20-cv-02044-AB-JC Document 1 Filed 03/02/20 Page 4 of 18 Page ID #:4




 1         11. Plaintiff is informed and believes and thereon alleges that Defendants
 2   DOES 1 through 10, inclusive, are other parties not yet identified who have infringed
 3   Plaintiff’s copyrights, have contributed to the infringement of Plaintiff’s copyrights,
 4   or have engaged in one or more of the wrongful practices alleged herein. The true
 5   names, whether corporate, individual or otherwise, of Defendants 1 through 10,
 6   inclusive, are presently unknown to Plaintiff, which therefore sues said Defendants
 7   by such fictitious names, and will seek leave to amend this Complaint to show their
 8   true names and capacities when same have been ascertained.
 9         12. Plaintiff is informed and believes and thereon alleges that at all times
10   relevant hereto each of the Defendants was the agent, affiliate, officer, director,
11   manager, principal, alter-ego, and/or employee of the remaining Defendants and was
12   at all times acting within the scope of such agency, affiliation, alter-ego relationship
13   and/or employment; and actively participated in or subsequently ratified and/or
14   adopted each of the acts or conduct alleged, with full knowledge of all the facts and
15   circumstances, including, but not limited to, full knowledge of each violation of
16   Plaintiff’s rights and the damages to Plaintiff proximately caused thereby.
17                   INTRODUCTION AND STATEMENT OF FACTS
18         13. KÜHMSTEDT is a commercial photographer known for his iconic
19   celebrity portraits. Three (3) of his original photographs, set forth below as Subject
20   Photographs 1 through 3 and referenced hereinafter as the “Subject Photographs,”
21   have been misappropriated and published without permission (or payment of a
22   licensing fee) by the for-profit website http://163.com.
23         14. Defendants misappropriated, distributed, and published the Subject
24   Photographs on the NETEASE WEBSITES, and did so without seeking
25   authorization from, or even notifying, KÜHMSTEDT. This is copyright
26   infringement.
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                                            COMPLAINT
 Case 2:20-cv-02044-AB-JC Document 1 Filed 03/02/20 Page 5 of 18 Page ID #:5




 1        15. Plaintiff is informed and believes and thereon alleges that NETEASE
 2   accessed the Subject Photographs with the assistance of its California subsidiary
 3   NETEASE IT via an online search-and-copy campaign and then the NETEASE
 4   WEBSITES published the Subject Photographs without KÜHMSTEDT’s consent.
 5        16. NETEASE purposefully directed activities towards the United States
 6   market by, inter alia, setting up wholly-owned California subsidiary, setting up
 7   investor relations contacts in New York and placing itself on a New York-based
 8   exchange, and contracting with California-based Quantil Networks to deliver content
 9   to the sizeable market of Chinese-speaking viewers in the United States through a
10   system of servers located throughout the United States—the very activities out of
11   which claims at issue arise.
12                  CLAIMS RELATED TO SUBJECT PHOTOGRAPHS
13        17. KÜHMSTEDT created an original photograph of the Backstreet Boys pop
14   music band that was first published abroad (“Subject Photograph 1”). Plaintiff is the
15   sole owner of the exclusive rights in Subject Photograph 1.
16        18. Subject Photograph 1 is not a United States work within the meaning of 17
17   U.S.C., § 101.
18        19. As a result of the foregoing, Plaintiff is exempt from the registration
19   requirements set out at 17 U.S.C., § 411(a).
20        20. A true and correct comparison of Plaintiff’s Subject Photograph 1 and
21   screen captures of Defendant’s website with Subject Photograph 1 embedded are set
22   forth below:
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                                           COMPLAINT
 Case 2:20-cv-02044-AB-JC Document 1 Filed 03/02/20 Page 6 of 18 Page ID #:6




 1                                 Subject Photograph 1
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14                                 Screen Captures
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                                      COMPLAINT
 Case 2:20-cv-02044-AB-JC Document 1 Filed 03/02/20 Page 7 of 18 Page ID #:7




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                                      COMPLAINT
 Case 2:20-cv-02044-AB-JC Document 1 Filed 03/02/20 Page 8 of 18 Page ID #:8




 1        21. KÜHMSTEDT created an original photograph of the N’Sync pop music
 2   band that was first published abroad (“Subject Photograph 2”). Plaintiff is the sole
 3   owner of the exclusive rights in Subject Photograph 2.
 4        22. Subject Photograph 2 is not a United States work within the meaning of 17
 5   U.S.C., § 101.
 6        23. As a result of the foregoing, Plaintiff is exempt from the registration
 7   requirements set out at 17 U.S.C., § 411(a).
 8        24. A true and correct comparison of Plaintiff’s Subject Photograph 2 and a
 9   screen capture of Defendant’s website with Subject Photograph 2 embedded are set
10   forth below:
11                                     Subject Photograph 2
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                                           COMPLAINT
 Case 2:20-cv-02044-AB-JC Document 1 Filed 03/02/20 Page 9 of 18 Page ID #:9




 1                                        Screen Capture
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13        25. KÜHMSTEDT created an original photograph of the Roxette music group
14   that was first published abroad (“Subject Photograph 3”). Plaintiff is the sole owner
15   of the exclusive rights in Subject Photograph 3.
16        26. As a result of the foregoing, Plaintiff is exempt from the registration
17   requirements set out at 17 U.S.C., § 411(a).
18        27. Subject Photograph 3 is not a United States work within the meaning of 17
19   U.S.C., § 101.
20        28. A true and correct comparison of Plaintiff’s Subject Photograph 3 and a
21   screen capture of Defendant’s website with Subject Photograph 3 embedded are set
22   forth below:
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                                           COMPLAINT
Case 2:20-cv-02044-AB-JC Document 1 Filed 03/02/20 Page 10 of 18 Page ID #:10




 1                                 Subject Photograph 3
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                                      COMPLAINT
Case 2:20-cv-02044-AB-JC Document 1 Filed 03/02/20 Page 11 of 18 Page ID #:11




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                                      COMPLAINT
Case 2:20-cv-02044-AB-JC Document 1 Filed 03/02/20 Page 12 of 18 Page ID #:12




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13                              FIRST CLAIM FOR RELIEF

14            (For Copyright Infringement - Against All Defendants, and Each)

15        29. Plaintiff repeats, re-alleges and incorporates herein by reference as though

16   fully set forth the allegations contained in the preceding paragraphs of this

17   Complaint.

18        30. Plaintiff is informed and believes and thereon alleges that Defendants, and

19   each of them, infringed Plaintiff’s copyrights by creating an infringing and/or

20   derivative work from the Subject Photographs and by publishing the work which

21   infringes the Subject Photographs to the public, including without limitation, on and

22   through its website(s).

23        31. Plaintiff is informed and believes and thereon alleges that Defendants, and

24   each of them, infringed Plaintiff’s rights by copying the Subject Photographs without

25   Plaintiff’s authorization or consent, creating an unlawful derivative work from the

26   Subject Photographs, and removing any attribution to Plaintiff from the Subject

27   Photographs.

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                                            COMPLAINT
Case 2:20-cv-02044-AB-JC Document 1 Filed 03/02/20 Page 13 of 18 Page ID #:13




 1         32. Plaintiff is informed and believes and thereon alleges that Defendants, and
 2   each of them, had access to the Subject Photographs, including, without limitation,
 3   through viewing the Subject Photographs on Plaintiff’s website, publications,
 4   profiles, exhibitions and/or through other authorized channels, over the internet,
 5   including without limitation as accessed via a search engine, or through a third-party
 6   source.
 7         33. Plaintiff is further informed and believes and thereon alleges that certain
 8   Defendants have an ongoing business relationship with one or more of the other
 9   Defendants, and that those Defendants transacted in order to traffic in the infringing
10   images.
11         34. Due to Defendants’, and each of their, acts of infringement, Plaintiff has
12   suffered general and special damages in an amount to be established at trial.
13         35. Due to Defendants’ acts of copyright infringement as alleged herein,
14   Defendants, and each of them, have obtained direct and indirect profits they would
15   not otherwise have realized but for their infringement of Plaintiff’s rights in the
16   Subject Photographs. As such, Plaintiff is entitled to disgorgement of Defendants’
17   profits directly and indirectly attributable to Defendants’ infringement of its rights in
18   the Subject Photographs in an amount to be established at trial.
19         36. Plaintiff is informed and believes and thereon alleges that Defendants, and
20   each of them, have committed acts of copyright infringement, as alleged above,
21   which were willful, intentional and malicious, which further subjects Defendants,
22   and each of them, to liability for statutory damages under Section 504(c)(2) of the
23   Copyright Act in the sum of up to one hundred fifty thousand dollars ($150,000.00)
24   per infringement. Within the time permitted by law, Plaintiff will make its election
25   between actual damages and statutory damages.
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                                            COMPLAINT
Case 2:20-cv-02044-AB-JC Document 1 Filed 03/02/20 Page 14 of 18 Page ID #:14




 1                            SECOND CLAIM FOR RELIEF
 2   (For Vicarious and/or Contributory Copyright Infringement – Against all Defendants,
 3                                         and Each)
 4         37. Plaintiff repeats, re-alleges, and incorporates herein by reference as though
 5   fully set forth, the allegations contained in the preceding paragraphs of this
 6   Complaint.
 7         38. Plaintiff is informed that Defendant NETEASE claims that the NETEASE
 8   WEBSITES are not owned by, registered to, or administered by NETEASE, and
 9   claims that the websites http://163.com and http://netease.com are registered to
10   Guangzhou NetEase Computer System Co., Ltd., a Chinese company located in
11   Guangdong, China, and http://lofter.com is registered to Hangzhou Yaolu
12   Technology Co., Ltd., a Chinese company located in Hangzhou, China.
13         39. Plaintiff is informed and believes and thereon alleges that Guangzhou
14   NetEase Computer System Co. Ltd. is an Internet service provider (“ISP”) which is
15   either a subsidiary or affiliate of Defendant NETEASE and is used by NETEASE as
16   a data center, for web hosting and for transit of information and content for the
17   websites http://163.com and http://netease.com.
18         40. Plaintiff is informed and believes and thereon alleges that Hangzhou Yaolu
19   Technology Co., Ltd is an ISP which is used by Defendant NETEASE as a data
20   center, for web hosting and for transit of information and content for the website
21   http://lofter.com.
22         41. Plaintiff is informed and believes and thereon alleges that the images on
23   http://163.com, http://netease.com, and http://www.lofter.com, including the
24   infringing images at issue in this case, are hosted by the above named ISP data
25   centers and transmitted by these ISPs to servers in the United States through an
26   agreement between Defendant NETEASE and Quantil Networks’ delivery network
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                                            COMPLAINT
Case 2:20-cv-02044-AB-JC Document 1 Filed 03/02/20 Page 15 of 18 Page ID #:15




 1   (“Quantil”), making the infringing images at issue in this case available to viewers in
 2   the United States, including in New York, New York.
 3         42. Plaintiff is informed and believes and thereon alleges that Defendant
 4   NETEASE, through its agreements with the above-named ISPs and with Quantil,
 5   knowingly induced, participated in, aided and abetted in and profited from the illegal
 6   reproduction and distribution of the Subject Photographs as alleged hereinabove.
 7         43. Plaintiff is informed and believes and thereon alleges that Defendant
 8   NETEASE, through its agreements with the above named ISPs and with Quantil,
 9   knowingly induced, participated in, aided and abetted in and profited from the illegal
10   reproduction publication, and distribution of the Subject Photographs as alleged
11   hereinabove.
12         44. Plaintiff is informed and believes and thereon alleges that NETEASE had
13   the right and ability to supervise the infringing conduct and had a direct financial
14   interest in the infringing conduct. Specifically, it had the ability to oversee the
15   development, publication, and distribution of the infringing imagery at issue and
16   realized profits through the distribution and publication of the Subject Photographs.
17         45. By reason of the Defendants’ acts of contributory and vicarious
18   infringement as alleged above, Plaintiff has suffered and will continue to suffer
19   substantial damages to his business in an amount to be established at trial, as well as
20   additional general and special damages in an amount to be established at trial.
21         46. Due to Defendants’ acts of copyright infringement as alleged herein,
22   Defendants, and each of them, have obtained direct and indirect profits they would
23   not otherwise have realized but for their infringement of Plaintiff’s rights in the
24   Subject Photographs. As such, Plaintiff is entitled to disgorgement of Defendants’
25   profits directly and indirectly attributable to Defendants’ infringement of its rights in
26   the Subject Photographs, in an amount to be established at trial.
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                                             COMPLAINT
Case 2:20-cv-02044-AB-JC Document 1 Filed 03/02/20 Page 16 of 18 Page ID #:16




 1         47. Plaintiff is informed and believes and thereon alleges that Defendants, and
 2   each of them, have committed acts of copyright infringement, as alleged above,
 3   which were willful, intentional and malicious, which further subjects Defendants,
 4   and each of them, to liability for statutory damages under Section 504(c)(2) of the
 5   Copyright Act in the sum of up to one hundred fifty thousand dollars ($150,000.00)
 6   per infringement, in addition to claims for costs and attorneys’ fees. Within the time
 7   permitted by law, Plaintiff will make its election between actual damages and
 8   statutory damages.
 9                             THIRD CLAIM FOR RELIEF
10   (For Violations of the Digital Millennium Copyright Act (17 U.S.C. §1202 – Against
11                                 all Defendants, and Each))
12         48. Plaintiff repeats, re-alleges, and incorporates herein by reference as though
13   fully set forth, the allegations contained in the preceding paragraphs of this
14   Complaint.
15         49. Plaintiff’s photography was routinely published with attribution, credit, and
16   other copyright management information. His name, the title of the publication, and
17   other indicia of authorship would be visible on his work.
18         50. Plaintiff is informed and believes and thereon alleges that Defendants, and
19   each of them, removed Plaintiff’s copyright management information, as described
20   above, from one or more of the Subject Photographs, and/or added false copyright
21   management information to one or more of the Subject Photographs, before
22   publishing same.
23         51. Specifically, Plaintiff is informed and believes and thereon alleges that
24   Defendants, and each of them, published the Subject Photographs under its own
25   name and on website(s) bearing its own name and titles.
26         52. The aforementioned facts constitute “copyright management information”
27   as that phrase is defined in 17 U.S.C. § 1202(c) and is false.
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                                            COMPLAINT
Case 2:20-cv-02044-AB-JC Document 1 Filed 03/02/20 Page 17 of 18 Page ID #:17




 1         53. When Defendants published the Subject Photographs, they knowingly
 2   provided and/or distributed false copyright management information in violation of
 3   17 U.S.C. § 1202(a).
 4         54. As a result of the foregoing, Plaintiff has been damaged and may recover
 5   those damages as well as Defendants’ profits, and/or statutory damages, and
 6   attorneys’ fees under the Digital Millennium Copyright Act.
 7                                  PRAYER FOR RELIEF
 8         Wherefore, Plaintiff prays for judgment as follows against all Defendants and
 9   with respect to each claim for relief:
10             a. That Defendants, their affiliates, agents, and employees be enjoined
11                from infringing Plaintiff’s copyright in and to the Subject Photographs;
12             b. That Plaintiff be awarded all profits of Defendants, and each of them,
13                plus all losses of Plaintiff, plus any other monetary advantage gained by
14                the Defendants through their infringement, the exact sum to be proven at
15                the time of trial, or, if elected before final judgment, statutory damages
16                to the extent they are available under the Copyright Act, 17 U.S.C. §504
17                et seq.;
18             c. That Plaintiff be awarded its costs and attorneys’ fees to the extent they
19                are available under the Copyright Act U.S.C. § 505 et seq.;
20             d. That a trust be entered over the disputed works, and all profits realized
21                through the infringement;
22             e. That Plaintiff be awarded pre-judgment interest as allowed by law;
23             f. That Plaintiff be awarded the costs of this action; and
24             g. That Plaintiff be awarded such further legal and equitable relief as the
25                Court deems proper.
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                                              COMPLAINT
Case 2:20-cv-02044-AB-JC Document 1 Filed 03/02/20 Page 18 of 18 Page ID #:18




 1         Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
 2   38 and the 7th Amendment to the United States Constitution.
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                                                     Respectfully submitted,
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 5   Dated: March 2, 2020                            DONIGER / BURROUGHS
 6
                                            By:      /s/ Scott Alan Burroughs
 7                                                   Scott Alan Burroughs, Esq.
                                                     Stephen M. Doniger, Esq.
 8
                                                     Justin M. Gomes, Esq.
 9                                                   Attorneys for Plaintiff
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